  

Case 1:16-cr-00371-RA

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BOIES
SCHILLER

Tel: (212) 909-7625
ELEXNER E-mail: ewenner@bsfll

  

 

 

 

 

 

 

January 3, 2020
BY ELECTRONIC MAIL .
Application granted. The attached exhibit
Hon, Ronnie Abrams shall be filed under seal.
United States District Judge
United States District Court sO ORDERED. A
Southern District of New York fe fe
40 Foley Square fe fe
New York, New York 10007 ae a
Ronnig¢ Abrams, U-S.D.J.
Re: United States v. Galanis, S3 16 Cr. 371 (RA) January 6, 2020

 

 

 

Dear Judge Abrams:

I represent Devon Archer, I write to respectfully request the Court’s permission for Mr.
Archer to travel on business from January 13 to 18, 2020, to China. The purpose of the proposed
trip is to attend meetings for a private investment fund with which Mr. Archer is associated
relating to its investments and business activities in foreign markets. As has been the case on
each of Mr. Archer’s prior travel requests, the Court’s Pretrial Services Office consents to this
request, but the Government objects. A copy of Mr. Archer’s proposed flight and lodging
information is attached as Exhibit A, which we respectfully request to be filed under seal,

As the Court is aware, Mr. Archer has travelled internationally with the Court’s
permission on thirty-five prior occasions, to Jamaica, Italy, England, Spain, France, Latvia,
Lithuania, Russia, Kazakhstan, the United Arab Emirates, Vietnam, China, Hong Kong,
Malaysia, Singapore, Indonesia, Mexico, the Philippines, the Turks and Caicos Islands, Ukraine,
and Serbia. On each and every trip, Mr. Archer has returned on time, and without incident,
demonstrating that he is no risk of flight. In particular:

* On June 13, 2016, Your Honor permitted Mr. Archer to travel on business to Italy.

e On Joly 26, 2016, Your Honor permitted Mr. Archer and his wife, Dr. Archer, to
travel on business to Latvia.

* On September 9, 2016, Your Honor permitted Mr. Archer to travel on business to
China.

e¢ On October 17, 2016, Your Honor permitted Mr. Archer to travel on business to
England and Lithuania. On October 21, 2016, Your Honor further granted
permission for Mr. Archer to modify his itinerary to include business travel to
Russia.

e On November 28, 2016, Your Honor permitted Mr. Archer to travel on business to
England and Spain.

BOIES SCHILLER FLEXNER LLP

55 Hudson Yards, New York, NY 10001 | () 212.446.2300 | (f) 212.446.2350 | www.bsfllp.com

 

 
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e¢ On January 4, 2017, Your Honor permitted Mr. Archer to travel on business to
Vietnam and China. On January 17, 2017, Your Honor further granted permission
for Mr. Archer to modify his itinerary to include travel to the United Kingdom.

e On February 16, 2017, Your Honor permitted Mr. Archer to travel on business to
Singapore, Malaysia, and the Philippines. Although Mr. Archer’s wife did not travel
with him, she was permitted to retain her passport because she had a separate
international trip planned for the same time.

¢ On March 6, 2017, Your Honor permitted Mr. Archer to travel on business to
Russian and London. Mr. Archer’s wife and his oldest child were permitted to join
him in London for that leg of his trip.

*  OnMarch 23, 2017, Your Honor permitted Mr. Archer to travel on business to the
Philippines. On that occasion Mr. Archer’s family did not surrender their passports
because, although they did not travel with him, Mr. Archer’s wife and children were
out of the country on vacation at the same time.

* On May 9, 2017, Your Honor permitted Mr, Archer to travel on business to London.
©  OnJune 6, 2017, Your Honor permitted Mr. Archer to travel on business to London.

e On June 13, 2017, Your Honor permitted Mr, Archer to travel on business to the
Philippines and China.

e On July 26, 2017 Your Honor permitted Mr. Archer to travel on business to Italy,
with one of his children.

© On September 20, 2017, Your Honor permitted Mr. Archer to travel on business to
China, Vietnam, the Philippines, and Kazakhstan.

© On January 23, 2018, Your Honor permitted Mr. Archer to travel on business to
China, Hong Kong, and the United Arab Emirates.

© On February 16, 2018, Your Honor permitted Mr. Archer to travel on business to
Mexico.

¢ On March 28, 2018, Your Honor permitted Mr. Archer to travel on business to
China.

« On August 7, 2018, following the jury’s verdict in this case, Your Honor permitted
Mr. Archer to travel on business to Ukraine.

« On September 14, 2018, Your Honor permitted Mr, Archer to travel on business to
London,

 

 
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* On December 26, 2018, Your Honor permitted Mr. Archer, his wife, and their three
small children to travel to Jamaica on vacation.

e On January 7, 2019, Your Honor permitted Mr. Archer to travel on business to
England and France.

e On February 17, 2019, Your Honor permitted Mr, Archer to travel on business to
Singapore, Indonesia, and Hong Kong.

© On March 20, 2019, Your Honor permitted Mr. Archer and his family to travel to the
Turks and Caicos Islands on vacation.

* On April 16,2019, Your Honor permitted Mr. Archer and his family to travel
Mexico on vacation.

* On June 3, 2019, Your Honor permitted Mr. Archer to travel on business to Mexico.

« On June 17, 2019, Your Honor permitted Mr. Archer to travel on business to
England.

e On July 10 and 12, 2019, Your Honor permitted Mr. Archer to travel on business to
England and Latvia.

* On August 8, 2019, Your Honor permitted Mr. Archer to travel on business to
Mexico.

e On August 30, 2019, Your Honor permitted Mr. Archer to travel on business to
China.

¢ On September 17, 2019, Your Honor permitted Mr. Archer to travel on business to
Mexico, the Philippines, Serbia, and England.

e On October 17, 2019, Your Honor permitted Mr, Archer to travel on business to
England.

* On November 6, 2019, Your Honor permitted Mr. Archer to travel on business to
Vietnam and then with his family to Jamaica on vacation.

e On December 13, 2019, Your Honor permitted Mr. Archer to travel on business to
Spain.

© On December 27, 2019, Your Honor permitted Mr. Archer and one of his children to
travel to the United Arab Emirates on vacation.

[See ECF Nos. 41, 62, 78, 83, 84, 98, 111, 122, 148, 162, 166, 179, 182, 185, 189, 236, 305, 316,
363, 560, 620, 711, 715, 730, 738, 745, 770, 774, 776, 778, 780, 793, 804, 808, 814, 818, 833,
and 834, ]

 

 
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If the Court permits him to travel, Mr. Archer will report daily to his Pretrial Services
Officer while he is away, and of course the open-ended waiver of extradition that Mr. Archer
previously signed is still effective. Accordingly, I respectfully request permission for Mr. Archer
to take the trips described in the attached exhibit.

Thank you for your consideration of this request.
Respectfully,

/s/ Craig Wenner
Craig Wenner

ce: BY ELECTRONIC MAIL

AUSAs Rebecca Mermelstein and Negar Tekeei
U.S. Pretrial Services Officer Andrew R. Kessler-Cleary

 

 
